          Case 5:16-cv-01296-OLG Document 8 Filed 10/18/17 Page 1 of 1


                      UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

WILLIAM G. HENDRIX                              §
                                                §
vs.                                             §      No.: SA:16-CV-01296-OLG
                                                §
METROPOLITAN LLOYDS INSURANCE                   §
COMPANY OF TEXAS                                §

                             ORDER FOR DISMISSAL PAPERS

         On Wednesday, October 18, 2017 counsel for plaintiff and defendant advised the Court
that this case settled. The parties have not filed the closing paperwork in this case. Accordingly,
it is hereby ORDERED that:

       1) The parties shall submit a stipulation of dismissal or agreed judgment and any
       appropriate supporting documents on or before Thursday, November 09, 2017. If the
       parties are unable to submit those documents by that date, Plaintiff should move for an
       extension of time to file the documents. Failure to so move shall result in a dismissal of
       this case from the Court's docket for failure to diligently prosecute.

       2) All pretrial deadlines in this case are hereby STAYED pending the submission of the
       parties' stipulation of dismissal or agreed judgment, and any appropriate supporting
       documents. These deadlines will be reinstated if the parties are unable to finalize their
       settlement of this case.

       3) Any motions pending in this action are DENIED, subject to reurging should
       settlement fail.

       4) The pretrial conference and trial settings are cancelled.

       No extensions of the above deadline shall be granted except upon a showing of good
       cause.

       It is so ORDERED.

       SIGNED this 18th day of October, 2017.


                                                 ______________________________
                                                 ORLANDO L GARCIA
                                                 CHIEF U.S. DISTRICT JUDGE
